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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW MEXICO



NATIONAL FAIR HOUSING ALLIANCE,

       Plaintiff,

v.                                                               1:20-cv-00456-JHR-SMV

BEEHIVE HOMES, INC.; BEEHIVE HOMES OF
ALBUQUERQUE; BEEHIVE HOMES OF SANTA
FE; BEEHIVE HOMES OF BERNALILLO; BEEHIVE
HOMES OF ENCHANTED HILLS; BEEHIVE HOMES
OF RIO RANCHO #1; BEEHIVE HOMES OF RIO
RANCHO #2; BEEHIVE HOMES OF WHITE ROCK,

       Defendants.


 ORDER GRANTING STIPULATED MOTION FOR EIGHTH EXTENSION OF TIME
              TO ANSWER OR RESPOND TO COMPLAINT

       Upon review of the parties’ Stipulated Motion for Eighth Extension of Time to Answer or

Respond to Complaint, and for good cause appearing therein, IT IS HEREBY ORDERED that

the deadline for Defendant Bee Hive Homes, Inc. to answer or otherwise respond to Plaintiff’s

Complaint shall be extended up to, and including, December 11, 2020.

       DATED this _2d_ day of November, 2020.

                                           BY THE COURT:



                                           Magistrate Judge Stephan M. Vidmar
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*pro hac vice application to be filed
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